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                                           THE CITY OF NEW YORK
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                                                                        April3,2018
         B ECF

         Hon. Vera M. Scanlon
         U.S. District Court -Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York Il20I
                                       Re:   Ramooe. Inc. v. City of New York et al.;
                                             13 CV 01045
          Your Honor:
                       I am an Assistant Corporation Counsel in the Office of Zachary W. Carter,
         Corporation Counsel of the City of New York, attorney for defendants City of New York and the
         New York City Department of Housing and Preservation Development, in this action.
                         On March 28, 2018, Your Honor instructed the City attorneys appearing before
         you at a conference to have any other attorneys listed as representatives of the City Defendants
         removed from the docket and ECF system for this case. I spoke today with an EDNY ECF
         technical support person about how to remove myself from the docket and the ECF system for
         this case. ECF support sent me a link to a "CMECF FAQ" which quotes Local Rule 1.4 which
         states in part the following: "[A]n attorney who has appeared as attorney of record for a party
         may be relieved or displaced only by an order of the Court.. .." The FAQ further states that: "In
         many instances where one attorney at a firm is being removed while one or more other attorneys
         at the same firm continue to represent a party, a simple letter motion to the magistrate judge
         explaining why the attorney should be removed (e.g., has left the firm) is sufficient." I attach a
         print out from the link sent by ECF support.
                         Accordingly, as I am no longer an assigned attorney on this case, I request by this
         letter motion that the Court issue an order to remove me from the docket and ECF system for this
         case.

                        Thank you.
                                                                        Very truly yours,

                                                                        frl^tThw
                                                                         Ave Maria Brennan
         cc: GOLDBERG WEG & MARKUS PLLC via ECF
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How do I remove an attorney from a case?
Tlpe:
CMECF FAQ
Answer:
Local rule r.a. provides in pertinent part that an" attorney who has appeared as attorney of record for a party may be relieved or
displaced only by an order of the Court . . . ." Accordingly, court approval is needed to substitute one attorney for another attorney who
has appeared, even if from the same law firm (because individual attorneys, not law firms, appear as counsel of record). ln many
instances where one attorney at a firm is being removed while one or more other attorneys at the same firm continue to represent a
party, a simply letter motion to the magistrate judge explaining why the attorney should be removed (e.9., has left the firm) is sufficient.




https://www.nyed.uscourts.gov/content/how-do-i-remove-attorney... 41312018
